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      News Reports

      Bihar: Three, including a journalist, arrested with explosives, Naxal
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             Police had informatior                                                  sives for his orga
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                   9 June, 2019                                                                                 Opindia Staff




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                                                                                                                                                             Evangelicals in UP intensify
                   Shrinking Left-wing extremism (Representatio   ge)                                                                                        efforts to convert Muslims to
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                                                         Hoe                                                                                                 Mahakumbh: Uttar Pradesh
                                                                                                                                                             CM Yogi shares story of
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                                                                                                                                                             state’: AAP, which supported
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                                                                                          15-...                                                             India’s historic
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                                                                                                                                                             poverty nearly eradicated,
                   Bihar and Bokaro Police conducted a joint raid in a house in Sector 12A Bokaro                                                            sharpest inequality decline in
                                                                                                                                                             decades, reveals new study
                   Steel City and recovered laptops, Naxal literature and other incriminating evidence.
                   On Friday, independent journalist Rupesh Kumar Singh along with his two
                                                                                                                                                             Serbian Parliament witnesses
                   associates Mithilesh Kumar and Mohammad Kalam were arrested by Bihar Police                                                               chaotic scenes as opposition
                   in Bhagalpur's Dobhi region.                                                                                                              politicians hurl smoke
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                   As per reports, on Friday, the trio was arrested and huge quantity of explosives and                                                      injured
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Document title: Bihar: Three, including a journalist, arrested with explosives, Naxal literature recovered
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                associates Mithilesh Kumar and Mohammad Kalam were arrested by Bihar Police                                                            chaotic scenes as opposition
                in Bhagalpur's Dobhi region.                                                                                                           politicians hurl smoke
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                As per reports, on Friday, the trio was arrested and huge quantity of explosives and                                                   injured
                Naxal literature was recovered from their car when they were on their way to
                Chhakarbandha. As per the police, they were on their way to deliver the explosives                                                     Bangladesh: Nephew of
                                                                                                                                                       Hamid Mia attempts to
                to the Naxals. 15 bundles of detonators and 32 gelatin rods were recovered.                                                            encroach land of Hindu
                                                                                                                                                       family, attacks with sharp
                                                                                                                                                       weapon on resisting
                As per DCP Ravish Kumar, Rupesh who was arrested along with Mithilesh Kumar
                and the driver Mohammad Kalam were all residents of Ramgadh (Jharkhand). The                                                           china, Canada retaliate to US
                                     . that Rupesh was delivering
                Police had information                        Sari                                i
                                                                     explosives for his organisation                                                   tariffs
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                                                                                                                                                                  announcing
                                                                                                                                                                       on US goods,
                Maoist Communist Centre(MCC) which eventually merged into Communist Party of                                                           Mexico prepares a backup
                                                                                                                                         fe            plan
                India (Maoist). The Police increased the security and upon checking the vehicle,
                found explosives in the car. As per Police, Rupesh confessed working for MCC. He
                                                                                                                                                       Madhya Pradesh: Waqf Board
                was also an Editor ofa magazine ‘Lal Singh Mati’ published in Jharkhand.                                                               lays claim to Hindu-majority
                                                                                                                                                       village including Shivling;
                                                                                                                                                       villagers outrage

                                                                                                                                                       Muhammad Yunus lies
                                                                                                                                                       through his teeth about ‘law
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                                                                                                                                                       report exposes him

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